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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 NANTUCKET RESIDENTS AGAINST                     *
 TURBINES and VALLORIE OLIVER,                   *
                                                 *
        Plaintiffs,                              *
                                                 *
                v.                               *
                                                 *
 U.S. BUREAU OF OCEAN ENERGY                     *       Civil Action No. 1:21-cv-11390-IT
 MANAGEMENT, et al.,                             *
                                                 *
        Defendants,                              *
                                                 *
                and                              *
                                                 *
 VINEYARD WIND 1 LLC,                            *
                                                 *
       Intervenor-Defendant.                     *


                                          JUDGMENT

                                          May 18, 2023
TALWANI, D.J.

       Pursuant to the court’s Memorandum and Order [Doc. No. 130] on the parties’ cross-

Motions for Summary Judgment [Doc. Nos. 88, 95, 99], JUDGMENT IS HEREBY ENTERED

in favor of Defendants and Intervenor-Defendant and against Plaintiffs. All parties shall bear

their own costs and fees. This case is CLOSED.

       IT IS SO ORDERED

                                                            /s/ Indira Talwani
                                                            United States District Judge
